Case 2:21-cv-03461-VAP-JPR Document 50 Filed 12/03/21 Page 1 of 2 Page ID #:403




   1

   2
                                                                     JS6
   3

   4

   5

   6

   7

   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10                                  WESTERN DIVISION
  11 VIRINA STEEL, LLC, a Delaware           Case No. 2:21-cv-03461-VAP-JPRx
       Limited Liability Company,
  12

  13                     Plaintiff,          ORDER GRANTING MOTION
             v.                              TO REMAND (Doc. No. 45)
  14

  15 LEHIGH HANSON, INC., a
       Delaware corporation; LEHIGH
  16
       HANSON MATERIALS LIMITED,
  17   a Canadian corporation; UNION
       PACIFIC RAILROAD COMPANY,
  18
       a Delaware corporation; NORFOLK
  19   SOUTHERN RAILWAY, a Virginia
  20
       corporation; and DOES 1 through
       20, inclusive,
  21

  22
                         Defendants.

  23
             The Court having reviewed the Plaintiff’s Motion for Remand of this action
  24
       to Superior Court of the State of California, in and for the County of Los Angeles,
  25
       and good cause appearing therefor,
  26
       ///
  27
       ///
  28
                                           1
                                 ORDER REMANDING ACTION
Case 2:21-cv-03461-VAP-JPR Document 50 Filed 12/03/21 Page 2 of 2 Page ID #:404
